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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



TIKTOK INC., et al.,

                       Plaintiffs,

        v.                                             Case No. 20-cv-02658 (CJN)

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                       Defendants.




                             PARTIES’ JOINT STATUS REPORT

        Pursuant to the Court’s September 27, 2020 Order (ECF No. 29), the parties have met

and conferred regarding a schedule for further proceedings in this action, and hereby submit this

joint status report.

        Plaintiffs’ preference would be for the parties to file cross-motions for summary

judgment in time to be resolved prior to November 12. Defendants, however, do not believe that

proceeding to summary judgment is appropriate at this time for two reasons. First, although

Defendants have worked (and are continuing to work) expeditiously to compile the

Administrative Record (“AR”) in this matter, the AR is not presently ready to be certified and

produced, primarily because the AR contains classified information. Defendants are working

through the various issues posed by this classified information, but do not expect those issues to

be resolved in time to produce a complete, certified AR to Plaintiffs and then have the parties

brief cross-motions for summary judgment in time for a decision by November 12. Second,

there are also potential disputes between the parties as to the appropriate scope of the factual

record in this case—i.e., whether Plaintiffs should be permitted to rely on extra-record material
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such as factual declarations or purported expert witness declarations. Defendants believe it

would be premature to proceed to final judgment without resolving the appropriate scope of the

record, and providing the parties a full opportunity to address such matters and respond to any

extra-record material that the Court deems relevant. Accordingly, Defendants believe that, rather

than proceeding with cross-motions for summary judgment, the proper next steps in this matter

are for Plaintiffs to file another motion for a preliminary injunction as to the remaining

prohibitions scheduled to take effect November 12, and for the parties to brief that motion in

time for the Court to issue a decision prior to November 12.

       Based on the foregoing representations by Defendants, Plaintiffs do not oppose entry of a

briefing schedule allowing them to file another motion for a preliminary injunction as to the

remaining prohibitions. The parties have conferred and respectfully propose the following

schedule:

      x     On or before October 5, 2020, the government shall, pursuant to Local Rule 7(n), file
            with the Court a certified list of the contents of the AR, and the government shall serve
            Plaintiffs with a copy of each item in the AR that is available at that time to be
            produced, noting in a cover filing and/or on the certified list of contents any such
            documents that have not been produced to Plaintiffs;

      x     On or before October 14, 2020, Plaintiffs shall file a motion for a preliminary
            injunction as to the remaining prohibitions scheduled to take effect November 12;

      x     On or before October 23, 2020, Defendants shall file an opposition to Plaintiffs’
            motion for a preliminary injunction;

      x     On or before October 30, 2020, Plaintiffs shall file a reply on their motion;

      x     Oral argument to be held at the Court’s convenience during the week of November 2,
            2020.

      Each party reserves all rights with respect to submitting (and opposing submission) of

factual materials in this matter, including with respect to any portions of the AR that are not

available on October 5 but later become available for submission to Plaintiffs and/or the Court.
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DATED: September 30, 2020                 Respectfully submitted,



                                            /s/ John E. Hall _____

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